Case 1:21-cr-20034-MGC Document 1 Entered on FLSD Docket 11/18/2020 Page 1 of 5




                               1:20mj04041 Reid
Case 1:21-cr-20034-MGC Document 1 Entered on FLSD Docket 11/18/2020 Page 2 of 5




                                                    1:20mj04041 Reid
Case 1:21-cr-20034-MGC Document 1 Entered on FLSD Docket 11/18/2020 Page 3 of 5
Case 1:21-cr-20034-MGC Document 1 Entered on FLSD Docket 11/18/2020 Page 4 of 5
Case 1:21-cr-20034-MGC Document 1 Entered on FLSD Docket 11/18/2020 Page 5 of 5
